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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK

____________________________________
                                             }
The Estate of Joseph P. King,                }
by and through its Administratrix,           }
Amy King, and Amy King, in her own right, }
                                             }
                       Plaintiffs,           }        Docket No. 9:20-cv-1413
                                             }
                v.                           }
                                             }
Anthony J. Annucci, Acting Commissioner, }
State of New York Department of              }
Corrections, in his individual capacity; and }
Marie T. Sullivan, MD, Commissioner,         }
State of New York Department of Mental }
Health, in her individual capacity           }
Jami Palladino, Mid-State Social             }
Worker, in her individual capacity; Hal      }
Meyers, Mid-State Chief Mental Health        }
Counselor, in his individual capacity;
                                             }
                Defendants.                  }
____________________________________}

     DECLARATION OF HILLARY NAPPI, ESQ. IN SUPPORT OF PLAINTIFFS’
      OPPOSITION TO DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       1.      I am member of the Bar of this Court and am a partner with the law firm of Hach

Rose Schirripa & Cheverie, LLP, attorneys for the Plaintiffs. I am familiar with all of the facts and

circumstances of this action. I submit this Declaration in Support of Plaintiffs’ Opposition to

Defendants’ Motions for Summary Judgment.

       2.      Attached hereto as Exhibit A is a true and correct copy of the Defendant Annucci’s

responses and objections to Plaintiffs’ First Set of Interrogatories dated November 29, 2021.

       3.      Attached hereto as Exhibit B is a true and correct copy of the Defendant Meyers’

responses and objections to Plaintiffs’ First Set of Interrogatories dated November 17, 2021.




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        4.     Attached hereto as Exhibit C is a true and correct copy of the Defendant Sullivan’s

responses and objections to Plaintiffs’ First Set of Interrogatories dated November 22, 2021.

        5.     Attached hereto as Exhibit D is a true and correct copy of the Defendant Palladino’s

responses and objections to Plaintiffs’ First Set of Interrogatories dated November 23, 2021.

        6.     Attached hereto as Exhibit E is a true and correct copy of the deposition of

Defendant Meyers dated May 23, 2022.

        7.     Attached hereto as Exhibit F is a true and correct copy of deposition of Defendant

Palladino dated May 23, 2022.

        8.     Attached hereto as Exhibit G is a true and correct copy of the deposition of Dr. Li-

Wen Lee dated June 17, 2022.

        9.     Attached hereto as Exhibit H is a true and correct copy of Comprehensive Suicide

Risk Assessment Process Policy 3.8 dated November 9, 2015.

        10.    Attached hereto as Exhibit I is a true and correct copy of Comprehensive Suicide

Risk Assessment Process Policy 1.0 dated November 9, 2015.

        11.    Attached hereto as Exhibit J is a true and correct copy of the Defendants’ Responses

and Objections to Plaintiffs’ First Request to Produce Documents dated November 24, 2021.

        12.    Attached hereto as Exhibit K is a true and correct copy of the RCTP Observation

and Dormitory Cells Policy No. 4.0 dated January 17, 2019.

        13.    Attached hereto as Exhibit L is a true and correct copy of a letter to Defendant

Annucci from the Justice Center for Protection of People with Special Needs dated January25,

2019.

        14.    Attached hereto as Exhibit M is a true and correct copy of the Morbidity and

Mortality Review Committee Meeting Minutes dated March 27, 2019.




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       15.    Attached hereto as Exhibit N is a true and correct copy of the Suicide Watches

Policy No. 4.2 dated February 14, 2019.

       16.    Attached hereto as Exhibit O is a true and correct copy of the Psychological

Autopsy performed on Mr. King dated March 21, 2019.

       17.    Attached hereto as Exhibit P are true and correct copies of notes produced in this

litigation bearing bates numbers 000553-000557.

       18.    Attached hereto as Exhibit Q are true and correct copy of the Office of Mental

Health PHI dated June 6, 2021.

       19.    Attached hereto as Exhibit R are true and correct copy of the deposition of Meghan

King dated June 24, 2022.



Dated: New York, New York
       March 31, 2023

                                    HACH ROSE SCHIRRIPA & CHEVERIE, LLP

                                               By: /s/ Hillary Nappi

                                                   Hillary M. Nappi
                                                   112 Madison Avenue, 10th Floor
                                                   New York, NY 10016
                                                   Telephone: (212) 213-8311
                                                   Facsimile: (212) 779-0028

                                                   Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

      I hereby certify that on this 31st day of March 2023, I caused the foregoing Declaration of

Hillary M. Nappi Esq. in Support of Plaintiffs’ Opposition to Defendants’ Motion for Summary

Judgment to be filed electronically with the Clerk of the Court by using the CM/ECF system

which will serve a copy on all interested parties registered for electronic filing, and is available

for viewing and downloading from the ECF system.



                                                     /s/ Hillary Nappi
                                                     Hillary M. Nappi




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